              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT

                     HEATHER NICHOLE CHAPMAN,

                                 Appellant,

                                      v.

                       DONALD HENRY CHAPMAN,

                                  Appellee.

                    Nos. 2D2023-0935, 2D2023-2015
                           CONSOLIDATED


                              August 21, 2024

Appeals from the Circuit Court for Manatee County; Danielle E.
Brewer and Kevin Bruning, Judges.

Michael Stanski of Law Office of Michael Stanski, Yulee, for Appellant.

No appearance for Appellee.


PER CURIAM.

      Affirmed.

KELLY, ROTHSTEIN-YOUAKIM, and LABRIT, JJ., Concur.


Opinion subject to revision prior to official publication.
